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                    UNITED STATES DISTRICT COURT FOR
                       THE DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON                 Case No. 3-16-md-2738 (FLW)(LHG)
    TALCUM POWDER PRODUCTS                  MDL No. 2738 (FLW) (LHG)
    MARKETING, SALES
    PRACTICES, AND PRODUCTS
    LIABILITY LITIGATION

    This document relates to:
   PENNY M. DEARY, Individually
   Case No. 3:18-cv-02814


               NOTICE OF FILING SHORT FORM COMPLAINT

        Notice is hereby given pursuant to Case Management Order No. 3 (Filing of

  Short Form Complaints) that the Short Form Complaint with Jury Demand was

  filed on February 27, 2018 on behalf of Plaintiffs captioned above.

  Dated: March 12, 2018           Respectfully Submitted by

                                  /s/ Nicole K.H. Maldonado
                                  Nicole K.H. Maldonado, Esq.
                                  Michael L. Baum, Esq.
                                  Baum Hedlund Aristei & Goldman, P.C.
                                  12100 Wilshire Boulevard, Suite 950
                                  Los Angeles, CA 90025
                                  Tel: 310-207-3233 // Fax: 310-820-7444
                                  nmaldonado@baumhedlundlaw.com
                                  mbaum@baumhedlundlaw.com
                                  Counsel for Plaintiffs




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                          CERTIFICATE OF SERVICE

        I hereby certify that on March 12, 2018, a copy of the foregoing NOTICE

  OF FILING was filed electronically. Notice of this filing will be sent by

  operations of the Court’s electronic filing system to all parties indicated on the

  electronic filing receipt. Parties may access this filing through the Court’s

  system.

                                   /s/ Nicole K.H. Maldonado
                                   Nicole K.H. Maldonado, Esq.
                                   Baum Hedlund Aristei & Goldman, P.C.
                                   12100 Wilshire Boulevard, Suite 950
                                   Los Angeles, CA 90025
                                   Tel: 310-207-3233 // Fax: 310-820-7444
                                   nmaldonado@baumhedlundlaw.com




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